                 Case 2:19-cr-00159-DAD Document 33 Filed 01/08/20 Page 1 of 3


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 ADRIAN T. KINSELLA
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:19-CR-00159-MCE
12                                 Plaintiff,              STIPULATION REGARDING EXCLUDABLE
                                                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                            ORDER
14   TIMOTHY CHARLES WILSON, and                           DATE: April 16, 2020
     FRANCISCO GOMEZ-SANCHEZ,                              TIME:10 a.m.
15                                                         COURT: Hon. Morrison C. England, Jr.
                                   Defendants.
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17
                                                 STIPULATION
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            1.       By previous order, this matter was set for status on January 9, 2020.
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            2.       On December 18, 2019, the Court continued the hearing to April 16, 2020.
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            3.       By this stipulation, defendants now move to exclude time between January 9, 2020, and
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     April 16, 2020, under Local Code T4.
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            4.       The parties agree and stipulate, and request that the Court find the following:
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                     a)     The government has represented that additional discovery associated with this
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            case includes forensic evidence pertaining to 15 cellular phones seized in this case. This
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            discovery has been made available for inspection and copying, and is in the process of being
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            produced directly to the respective counsel.
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                     b)     Counsel for defendants desire additional time consult to review the voluminous
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            discovery in this case, consult with their clients, discuss potential resolutions with their clients,

      STIPULATION REGARDING EXCLUDABLE TIME                1
      PERIODS UNDER SPEEDY TRIAL ACT
            Case 2:19-cr-00159-DAD Document 33 Filed 01/08/20 Page 2 of 3


 1        and otherwise prepare for trial.

 2               c)      Counsel for defendants believe that failure to grant the above-requested

 3        continuance would deny them the reasonable time necessary for effective preparation, taking into

 4        account the exercise of due diligence.

 5               d)      The government does not object to the continuance.

 6               e)      Based on the above-stated findings, the ends of justice served by continuing the

 7        case as requested outweigh the interest of the public and the defendant in a trial within the

 8        original date prescribed by the Speedy Trial Act.

 9               f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10        et seq., within which trial must commence, the time period of January 9, 2020 to April 16, 2020,

11        inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

12        because it results from a continuance granted by the Court at defendant’s request on the basis of

13        the Court’s finding that the ends of justice served by taking such action outweigh the best interest

14        of the public and the defendant in a speedy trial.

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     STIPULATION REGARDING EXCLUDABLE TIME              2
     PERIODS UNDER SPEEDY TRIAL ACT
                 Case 2:19-cr-00159-DAD Document 33 Filed 01/08/20 Page 3 of 3


 1          5.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 3 must commence.

 4          IT IS SO STIPULATED.

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 6
     Dated: January 6, 2020                                    MCGREGOR W. SCOTT
 7                                                             United States Attorney
 8
                                                               /s/ ADRIAN T. KINSELLA
 9                                                             ADRIAN T. KINSELLA
                                                               Assistant United States Attorney
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11
     Dated: January 6, 2020                                    /s/ Shari G. Rusk
12                                                             SHARI G. RUSK
                                                               Counsel for Defendant
13                                                             (as authorized on January 6, 2020)
     Dated: October 18, 2019                                   /s/ Dina L. Santos
14                                                             DINA L. SANTOS
                                                               Counsel for Defendant
15                                                             Francisco Gomez-Sanchez
                                                               (as authorized on January 6, 2020)
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18
                                                       ORDER
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            IT IS SO ORDERED.
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     DATED: January 7, 2020
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                                                     _______________________________________
24                                                   MORRISON C. ENGLAND, JR.
                                                     UNITED STATES DISTRICT JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME                3
      PERIODS UNDER SPEEDY TRIAL ACT
